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               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

IN RE:                                    BANKRUPTCY CASE


MICHAEL SCOT FLECK,                       NO. 21-54965-LRC


                                          Chapter 7 Proceeding
Debtors.

S. GREGORY HAYS, CHAPTER 7
TRUSTEE FOR THE ESTATE OF
MICHAEL SCOT FLECK,

       Plaintiff,
                                          ADVERSARY PROCEEDING
v.
                                          ADV. PRO. NO. 21-05150-LRC
JPMORGAN CHASE BANK, N.A.
and FIGURE LENDING, LLC,
       Defendant.

     DEFENDANT JPMORGAN CHASE BANK, N.A.’S ANSWER AND
                  DEFENSES TO COMPLAINT

      Defendant JPMORGAN CHASE BANK, N.A. (hereinafter, “JPM” or

“Defendant”), through its undersigned counsel, hereby files its Answer and Defenses

(hereinafter, “Answer”) to the Plaintiff’s, S. GREGORY HAYS, CHAPTER 7
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TRUSTEE FOR THE ESTATE OF MICHAEL SCOT FLECK (hereinafter,

“Trustee” or “Plaintiff”), Complaint (hereinafter, “Complaint”). In support of this

Answer, JPM respectfully shows the Court as follows:


                                  FIRST DEFENSE

      Trustee’s Complaint fails to state a claim or cause of action against JPM upon

which relief may be granted.


                                SECOND DEFENSE

      Plaintiff’s Complaint against JPM is barred by the doctrine of equitable

subrogation in that the proceeds of the mortgage loan held by JPM were used to pay

off and satisfy the previous security deed upon the Property in question located at

819 Durant Place NE, #8, Atlanta, Fulton County, Georgia 30308 (hereinafter, the

“Property”). The prior existing security deed was satisfied of record, and JPM was

not a mere volunteer but rather, had a direct contractual financial interest in the funds

represented by its mortgage note and mortgage to the Debtor/Plaintiff; and, by

advancing funds to satisfy unpaid mortgage(s) which had priority over any other

interest in the Property owned by the Debtor, JPM is entitled to be equitably

subrogated to said priority of the prior security deed which it paid off.


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                                  THIRD DEFENSE

       The Trustee cannot recover from JPM to the extent that JPM is a transferee

for value, in good faith and without knowledge of the voidability of any transfer, as

provided by 11 U.S.C. § 550(b)(1).

                                 FOURTH DEFENSE

       The transfer which Plaintiff seeks to avoid falls within the exception of U.S.C.

§ 574(c)(1)(A).

                                   FIFTH DEFENSE

       In the alternative, the transfer which Trustee seeks to avoid was not a transfer

by the Debtor, but rather, a required transfer by the purchaser of the Property so as

to convey marketable title to purchaser and, potentially, so as to allow purchaser’s

lender to obtain a first priority security interest.

                                  SIXTH DEFENSE

       JPM reserves the right to allege further defenses as they may become known.

                                SEVENTH DEFENSE

       Without waiving any of its defenses, and in accordance therewith, JPM hereby

answers the numbered allegations in the Complaint as follows:



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                                          1.

      JPM admits the allegations in Paragraph 1 of the Complaint.

                                          2.

      JPM admits the allegations in Paragraph 2 of the Complaint.

                                          3.

      JPM admits the allegations in Paragraph 3 of the Complaint.

                                          4.

      JPM admits that venue is proper over this adversary proceeding.

                                          5.

      JPM does not consent to the entry of any final orders or judgments by this

Court if it is determined that this Court, absent consent of the parties, cannot enter

final orders or judgments consistent with Article III of the United States

Constitution.

                                          6.

      JPM admits that jurisdiction is proper over this adversary proceeding.




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                                 Statement of Facts

                               A. General Background

                                          7.

      Upon information and belief, JPM admits to the allegations in Paragraph 7 of

Plaintiff’s Complaint.

                                          8.

      Upon information and belief, JPM admits to the allegations in Paragraph 8 of

Plaintiff’s Complaint.

                         B. Debtor’s Purchase of the Property

                                          9.

      JPM is without sufficient information to admit or deny the allegations in

Paragraph 9 of Plaintiff’s Complaint. By way of further answer, the Real Property

Records of Fulton County Georgia speak for themselves.

                                         10.

      JPM is without sufficient information to admit or deny the allegations in

Paragraph 10 of Plaintiff’s Complaint. By way of further answer, the Real Property

Records of Fulton County Georgia speak for themselves.



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                                         11.

      JPM is without sufficient information to admit or deny the allegations in

Paragraph 11 of Plaintiff’s Complaint.

                                         12.

      JPM is without sufficient information to admit or deny the allegations in

Paragraph 12 of Plaintiff’s Complaint. By way of further answer, JPM admits that

the Debtor obtained a refinance loan and executed a promissory note and security

deed on July 25, 2018, which refinanced an existing debt on the Property. JPM

further admits that its loan to the Debtor and payoff of the existing security interest

against the Property was in exchange for a first priority security interest in the

Property and the same benefited the Debtor.

                           C. The Subject Security Deeds

                              1. The First Security Deed

                                         13.

      JPM admits to the allegations in Paragraph 13 of Plaintiff’s Complaint.




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                                         14.

      JPM admits to the allegations in Paragraph 14 of Plaintiff’s Complaint. By

way of further answer, the Real Property Records of Fulton County Georgia speak

for themselves.

                                         15.

      JPM admits to the allegations in Paragraph 15 of Plaintiff’s Complaint. By

way of further answer, Exhibit “A” speaks for itself.

                                         16.

      JPM denies to the allegations in Paragraph 16 of Plaintiff’s Complaint. By

way of further answer, the Security Deed, which was executed by Debtor in front of

two witnesses, incorporates any and all Riders which include, respectively, the

Waiver of Borrower’s Rights, Closing Attorney’s Affidavit, and Foreclosure

Disclosure (hereinafter, collectively, the “Rider”). Further, the Rider incorporates by

reference the Security Deed. The Security Deed and Rider were recorded

consecutively in the Real Property Records of Fulton County Georgia. The Trustee

is intentionally misleading the Court by failing to reference the Rider.




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                                         17.

      JPM denies to the allegations in Paragraph 17 of Plaintiff’s Complaint. By

way of further answer, the Security Deed, which was executed by Debtor in front of

two witnesses, incorporates any and all Riders which include, respectively, the

Waiver of Borrower’s Rights, Closing Attorney’s Affidavit, and Foreclosure

Disclosure (hereinafter, collectively, the “Rider”). Further, the Rider incorporates by

reference the Security Deed. The Security Deed and Rider were recorded

consecutively in the Real Property Records of Fulton County Georgia. The Trustee

is intentionally misleading the Court by failing to reference the Rider. Further, the

Security Deed, which was satisfied at the sale of the Property on May 5, 2021,

undeniably provided constructive notice. Absent notice, there would not have been

a recorded Cancellation of the Security Deed.

                                         18.

      JPM denies to the allegations in Paragraph 18 of Plaintiff’s Complaint. By

way of further answer, the Security Deed, which was executed by Debtor in front of

two witnesses, incorporates any and all Riders which include, respectively, the

Waiver of Borrower’s Rights, Closing Attorney’s Affidavit, and Foreclosure

Disclosure (hereinafter, collectively, the “Rider”). Further, the Rider incorporates by

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reference the Security Deed. The Security Deed and Rider were recorded

consecutively in the Real Property Records of Fulton County Georgia. The Trustee

is intentionally misleading the Court by failing to reference the Rider. Further, the

Security Deed, which was satisfied at the sale of the Property on May 5, 2021,

undeniably provided constructive notice. Absent notice, there would not have been

a recorded Cancellation of the Security Deed.

                             2. The Second Security Deed

                                         19.

       JPM is without sufficient information to admit or deny the allegations of

Paragraph 19 of Plaintiff’s Complaint.

                                         20.

       JPM is without sufficient information to admit or deny the allegations of

Paragraph 20 of Plaintiff’s Complaint. By way of further answer, the Real Property

Records of Fulton County Georgia speak for themselves.

                                         21.

       JPM is without sufficient information to admit or deny the allegations of

Paragraph 21 of Plaintiff’s Complaint. By way of further answer, Exhibit “B” speaks

for itself.

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                                         22.

      The allegations contained in Paragraph 22 of Plaintiff’s Complaint contain a

legal conclusion for which no answer is required. As to any remaining allegations,

JPM is without sufficient information to admit or deny.

                                         23.

      The allegations contained in Paragraph 23 of Plaintiff’s Complaint contain a

legal conclusion for which no answer is required. As to any remaining allegations,

JPM is without sufficient information to admit or deny.

                                         24.

      The allegations contained in Paragraph 24 of Plaintiff’s Complaint contain a

legal conclusion for which no answer is required. As to any remaining allegations,

JPM is without sufficient information to admit or deny.

                    D. Debtor’s Pre-Petition Sale of the Property

                                         25.

      JPM admits the allegations in Paragraph 25 of Plaintiff’s Complaint. By way

of further answer, Debtor sold the Property on May 5, 2021 at which time JPM’s

first priority security interest on the Property was satisfied by the purchaser of the

Property.

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                                         26.

      JPM denies the allegations in Paragraph 26 of Plaintiff’s Complaint as stated.

By way of further answer, Debtor sold the Property on May 5, 2021 at which time

JPM’s first priority security interest on the Property was satisfied by the purchaser

of the Property.

                                         27.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 27 of Plaintiff’s Complaint.

                                         28.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 28 of Plaintiff’s Complaint. By way of further answer, the Real Property

Records of Fulton County Georgia speak for themselves.

                         E. Debtor’s Financial Condition

                                         29.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 29 of Plaintiff’s Complaint. By way of further answer, Debtor’s schedules

speak for themselves.



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                                         30.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 30 of Plaintiff’s Complaint. By way of further answer, Debtor’s schedules

speak for themselves.

                                         31.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 31 of Plaintiff’s Complaint.

                                         32.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 32 of Plaintiff’s Complaint. By way of further answer, with JPM’s first

priority security interest having been satisfied, and the Cancellation of the Security

Deed recorded, Debtor’s Estate is in a better position than it would have been if

JPM’s first priority security interest remained outstanding.

                                         33.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 33 of Plaintiff’s Complaint.




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                                     COUNT I

           Claim to Avoid the First Transfer Under 11 U.S.C. § 547

                                         34.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         35.

      JPM denies the allegations of Paragraph 35 of Plaintiff’s Complaint. By way

of further answer, the JPM Security Deed was perfected on July 25, 2018 and

ultimately, upon notice to purchaser, satisfied at the closing of the Property on May

5, 2021.

                                         36.

      JPM denies the allegations of Paragraph 36 of Plaintiff’s Complaint. By way

of further answer, the JPM Security Deed was perfected on July 25, 2018 and

ultimately, upon notice to purchaser, satisfied at the closing of the Property on May

5, 2021.

                                         37.

      JPM denies the allegations of Paragraph 37 of Plaintiff’s Complaint. By way

of further answer, the JPM Security Deed was perfected on July 25, 2018 and

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ultimately, upon notice to purchaser, satisfied at the closing of the Property on May

5, 2021.

                                         38.

      JPM admits the allegations of Paragraph 38 of Plaintiff’s Complaint. By way

of further answer, the transfer of Debtor’s interest in the Property to JPM occurred

on July 25, 2018 with the JPM Security Deed being perfected on July 25, 2018.

                                         39.

      JPM denies the allegations of Paragraph 39 of Plaintiff’s Complain as stated.

By way of further answer, Debtor obtained a refinance loan and executed a

promissory note and security deed on July 25, 2018, using the Property as collateral,

which refinanced an existing debt on the Property. JPM further states that its loan to

the Debtor and payoff of the existing security interest against the Property was in

exchange for a first priority security interest in the Property and the same benefited

the Debtor.

                                         40.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 40 of Plaintiff’s Complaint. By way of further answer, with JPM’s first

priority security interest having been satisfied, and the Cancellation of the Security

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Deed recorded, Debtor’s Estate is in a better position than it would have been if

JPM’s first priority security interest remained outstanding.

                                          41.

      JPM denies the allegations of Paragraph 41 of Plaintiff’s Complaint. By way

of further answer, the transfer of Debtor’s interest in the Property to JPM occurred

on July 25, 2018 with the JPM Security Deed being perfected on July 25, 2018.

                                          42.

      JPM denies the allegations of Paragraph 42 of Plaintiff’s Complaint. By way

of further answer, with JPM’s first priority security interest having been satisfied,

and the Cancellation of the Security Deed recorded, Debtor’s Estate is in a better

position than it would have been if JPM’s first priority security interest remained

outstanding.

                                          43.

      Paragraph 43 of Plaintiff’s Complaint states a legal conclusion for which no

answer is required.




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                                     COUNT II

   Claim for Preservation of Avoided First Transfer Under 11 U.S.C. § 551

                                         44.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         45.

      Paragraph 45 of Plaintiff’s Complaint states a legal conclusion for which no

answer is required. To the extent an answer is required, JPM’s first priority security

interest is not avoidable.

                                    COUNT III

           Claim to Avoid the Second Transfer Under 11 U.S.C. § 547

                                         46.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         47.

      JPM denies the allegations of Paragraph 47 of Plaintiff’s Complaint. By way

of further answer, the transfer of Debtor’s interest in the Property to JPM occurred

on July 25, 2018 with the JPM Security Deed being perfected on July 25, 2018.

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                                         48.

      JPM denies the allegations of Paragraph 48 of Plaintiff’s Complaint. By way

of further answer, the transfer of Debtor’s interest in the Property to JPM occurred

on July 25, 2018 with the JPM Security Deed being perfected on July 25, 2018.

                                         49.

      JPM denies the allegations of Paragraph 49 of Plaintiff’s Complaint. By way

of further answer, the transfer of Debtor’s interest in the Property to JPM occurred

on July 25, 2018 with the JPM Security Deed being perfected on July 25, 2018.

                                         50.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 50 of Plaintiff’s Complaint.

                                         51.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 51 of Plaintiff’s Complaint.

                                         52.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 52 of Plaintiff’s Complaint.



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                                         53.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 53 of Plaintiff’s Complaint.

                                         54.

      Paragraph 54 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required. To the extent an answer is required, JPM is without

sufficient information to admit or deny the remaining allegations of Paragraph 54 of

Plaintiff’s Complaint.

                                         55.

      Paragraph 55 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                                    COUNT IV

  Claim for Preservation of Avoided Second Transfer Under 11 U.S.C. § 551

                                         56.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.




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                                         57.

      Paragraph 57 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                                     COUNT V

           Claim to Avoid the Chase Payment Under 11 U.S.C. § 547

                                         58.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         59.

      JPM denies the allegations of Paragraph 59 as stated. By way of further

answer, the transfer of Debtor’s interest in the Property to JPM occurred on July 25,

2018 with the JPM Security Deed being perfected on July 25, 2018. Further, with

JPM’s first priority security interest having been satisfied, and the Cancellation of

the Security Deed recorded thereby providing new value, Debtor’s Estate is in a

better position than it would have been if JPM’s first priority security interest

remained outstanding.




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                                         60.

      JPM denies the allegations of Paragraph 60 as stated. By way of further

answer, with JPM’s first priority security interest having been satisfied, and the

Cancellation of the Security Deed recorded thereby providing new value, Debtor’s

Estate is in a better position than it would have been if JPM’s first priority security

interest remained outstanding. Further, the payment was provided by the purchaser

of the Property in connection with the transfer of Debtor’s interest in the Property to

purchaser, not to JPM; JPM released its interest in the Property.

                                         61.

      JPM admits the allegations of Paragraph 61. By way of further answer, the

transfer of Debtor’s interest in the Property to JPM occurred on July 25, 2018 with

the JPM Security Deed being perfected on July 25, 2018. Further, with JPM’s first

priority security interest having been satisfied, and the Cancellation of the Security

Deed recorded thereby providing new value, Debtor’s Estate is in a better position

than it would have been if JPM’s first priority security interest remained outstanding.

                                         62.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 62 of Plaintiff’ Complaint.

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                                         63.

      JPM admits the allegations of Paragraph 63 of Plaintiff’s Complaint. By way

of further answer, the transfer of Debtor’s interest in the Property to JPM occurred

on July 25, 2018 with the JPM Security Deed being perfected on July 25, 2018.

Further, with JPM’s first priority security interest having been satisfied, and the

Cancellation of the Security Deed recorded thereby providing new value, Debtor’s

Estate is in a better position than it would have been if JPM’s first priority security

interest remained outstanding. JPM’s interest in the Property, and satisfaction of the

Security Deed, is not an avoidable transfer.

                                         64.

      JPM denies the allegations of Paragraph 64 as stated. By way of further

answer, the transfer of Debtor’s interest in the Property to JPM occurred on July 25,

2018 with the JPM Security Deed being perfected on July 25, 2018. Further, with

JPM’s first priority security interest having been satisfied, and the Cancellation of

the Security Deed recorded thereby providing new value, Debtor’s Estate is in a

better position than it would have been if JPM’s first priority security interest

remained outstanding. JPM’s interest in the Property, and satisfaction of the Security

Deed, is not an avoidable transfer.

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                                         65.

      Paragraph 65 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                                    COUNT VI

           Claim for Recovery from Chase Under 11 U.S.C. § 550(a)

                                         66.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         67.

      JPM denies the allegations of Paragraph 67 as stated. By way of further

answer, JPM’s Security Deed was satisfied at the closing of the Property by

purchaser, which took place on May 5, 2021. The Property was transferred to

purchaser, and, while the Property could have remained subject to JPM’s Security

Deed, the Purchaser paid off JPM’s first priority security interest in the Property.

The transfer benefitted Debtor’s Estate and, at a minimum, if JPM were an

immediate transferee, the transferor is purchaser, not Debtor. Further, JPM received

value in good faith which further benefitted Debtor’s Estate.



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                                         68.

      Paragraph 68 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                                    COUNT VII

  Claim for Preservation of Avoided Chase Payment Under 11 U.S.C. § 551

                                         69.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         70.

      Paragraph 70 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                                   COUNT VIII

          Claim to Avoid the Figure Payment Under 11 U.S.C. § 551

                                         71.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.




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                                        72.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 72 of Plaintiff’ Complaint.

                                        73.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 73 of Plaintiff’ Complaint.

                                        74.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 74 of Plaintiff’ Complaint.

                                        75.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 75 of Plaintiff’ Complaint.

                                        76.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 76 of Plaintiff’ Complaint.

                                        77.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 77 of Plaintiff’ Complaint.

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                                         78.

      Paragraph 78 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                                    COUNT IX

      Claim for Recovery from Figure Lending Under 11 U.S.C. § 550(a)

                                         79.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         80.

      JPM is without sufficient information to admit or deny the allegations of

Paragraph 80 of Plaintiff’ Complaint.

                                         81.

      Paragraph 81 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.




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                                     COUNT X

  Claim for Preservation of Avoided Figure Payment Under 11 U.S.C. § 551

                                         82.

      JPM realleges and incorporates by reference the foregoing defenses and

responses to the Complaint.

                                         83.

      Paragraph 83 of Plaintiff’s Complaint contains a legal conclusion for which

no response is required.

                               Reservation of Rights

                                         84.

      The allegations in Paragraph 84 contain legal conclusions for which no

response is required.

                                         85.

      JPM denies the Trustee is entitled to the relief sought in the WHEREFORE

paragraph of the Complaint, including subparts.

                                         86.

      JPM denies any and all allegations in the Complaint not otherwise specifically

admitted herein.

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  WHEREFORE, JPM respectfully requests that the Court:

  (a) Grant JPM judgment in its favor as to each and every claim and count in the

     Complaint;

  (b) Deny the Trustee all relief sought in the Complaint against JPM;

  (c) Award JPM its costs incurred in connection with this proceeding, including,

     but not limited to attorney’s fees; and

  (d) Grant JPM such additional relief as the Court deems just and appropriate.

     Respectfully submitted, this 18th day of February, 2022.


                                      MCLAIN & MERRITT, PC

                                      By: /s/ Tania R. Tuttle
                                      Tania R. Tuttle
                                      Georgia Bar No. 720348

                                      Counsel for Defendant

                                      11625 Rainwater Drive, Ste. 125
                                      Alpharetta, Georgia 30009
                                      Phone: (770) 200-7000
                                      ttuttle@mmatllaw.com
                                      smonico@mmatllaw.com




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                        CERTIFICATE OF SERVICE

      I, Tania Tuttle, hereby certify that I am over the age of 18 and that I served

this day a copy of the foregoing DEFENDANT JPMORGAN CHASE BANK,

N.A.’S ANSWER AND DEFENSES TO COMPLAINT on counsel of record

identified below, electronically in accordance with the Court’s Electronic Case

Filing Procedures and by U.S. Mail, as follows:

                              Neil C. Gordon, Esq.
                          Arnall Gregory Golden LLP
                        171 17th Street, N.W., Suite 2100
                            Atlanta, GA 30363-1031
                          Email: neil.gordon@agg.com


                                    By:        /s/ Tania R. Tuttle
                                               Tania R. Tuttle
                                               Georgia Bar No. 720348


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Phone: (770) 200-7000
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